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MISSISSIPPI STATE

UNIVERSITY,

Facilities Management

June 18, 2019

Mr. Derek Files

Building Services Tech II
Mail Stop 9604

Mississippi State, MS 39762

Dear Derek:

This is to inform you that | have made the determination that it is in the best interest of
Mississippi State University to terminate your employment as Building Services Tech II in the
Physical Plant Administration department effective June 18, 2019.

You will receive information about benefits continuation from the Department of Human
Resources Management.

Sincerely,
GrAZ- Un

Tommy Verdell, Jr.
Director, Facilities Management

a Amy Tuck, Vice President Campus Services
George Davis, Assistant Vice President, Campus Services
Human Resources Management

P.O. Box 5208 * Mississippi State, MS 39762-5208 * TEL (662) 325-5830 * FAX (662) 325-4531
